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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,    §
                Plaintiffs,            §
                                       §
v.                                     §
                                       §
                                       §     Civil Action No. 5:21-cv-0844-XR
STATE OF TEXAS, et al.,                §     (Consolidated Cases)
                 Defendants.           §




            LUPE PLAINTIFFS’ BRIEF ON SUPPLEMENTAL AUTHORITY
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                                        INTRODUCTION

       The Court directed the parties to submit supplemental briefing addressing the Supreme

Court’s recent decision in Food & Drug Administration v. Alliance for Hippocratic Medicine, 602

U.S. 367 (2024). See ECF No. 1136. At trial, LUPE Organizational Plaintiffs demonstrated that

they have standing to challenge the unconstitutional and unlawful provisions of S.B. 1 because

those provisions “directly affect[] and interfere[] with [LUPE Organizational Plaintiffs’] core

business activities[.]” Alliance for Hippocratic Medicine, 602 U.S. at 395. In addition to directly

regulating LUPE Organizational Plaintiffs, S.B. 1 also affects their volunteers and members in

ways that make it more difficult for LUPE Organizational Plaintiffs to assist and mobilize voters,

thus impairing LUPE Organizational Plaintiffs’ ability to carry out their core business activities

and fulfill their missions.1 LUPE Organizational Plaintiffs have suffered and will continue to suffer

concrete injuries as a direct result of S.B. 1, and thus have organizational standing to bring this

action challenging it.

       Nothing in Alliance for Hippocratic Medicine changes that. Unlike here, in Alliance for

Hippocratic Medicine, the challenged governmental action (the FDA’s reduced regulation of

mifepristone) did not regulate the conduct of either the organization or its members. The Supreme

Court’s ruling clarified the difficulty of obtaining organizational standing in such circumstances,

but it did not change the bedrock principle that organizations may “sue on their own behalf for

injuries they have sustained.” 602 U.S. at 393 (citation omitted). LUPE Organizational Plaintiffs




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  The LUPE Plaintiffs are La Unión del Pueblo Entero, Friendship-West Baptist Church,
Southwest Voter Registration Education Project, Texas Impact, Mexican American Bar
Association of Texas, Texas Hispanics Organized for Political Education, Jolt Action, William C.
Velasquez Institute, FIEL Houston Inc., and James Lewin. James Lewin is an individual; the
remaining LUPE Plaintiffs are referred to throughout this filing as LUPE Organizational Plaintiffs.
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are doing just that—suing on their own behalf for injuries they have sustained. Accordingly,

Alliance for Hippocratic Medicine does not disturb their standing to bring any of their claims.

                                           ARGUMENT

       As a threshold matter, Plaintiffs need to prove only that a single plaintiff has standing to

maintain each of their claims in the suit. See Rumsfeld v. F. for Acad. & Institutional Rts., Inc.,

547 U.S. 47, 52 n.2 (2006) (“[T]he presence of one party with standing is sufficient to satisfy

Article III’s case-or-controversy requirement.”); Horne v. Flores, 557 U.S. 433, 446 (2009)

(“Because the superintendent clearly has standing to challenge the lower courts’ decisions, we

need not consider whether the Legislators also have standing to do so.”); McAllen Grace Brethren

Church v. Salazar, 764 F.3d 465, 471 (5th Cir. 2014) (“It is well settled that once we determine

that at least one plaintiff has standing, we need not consider whether the remaining plaintiffs have

standing to maintain the suit.”). “If at least one plaintiff has standing, the suit may proceed.” Biden

v. Nebraska, 143 S. Ct. 2355, 2365 (2023). The LUPE Plaintiffs have demonstrated that they have

standing to bring each of their claims.2

       A.      LUPE Plaintiffs’ organizational standing remains unchanged after the
               decision in Alliance for Hippocratic Medicine.

       As the Supreme Court explained in Alliance for Hippocratic Medicine, “[g]overnment

regulations that require or forbid some action by the plaintiff almost invariably satisfy both the

injury in fact and causation requirements. So in those cases, standing is usually easy to establish.”

602 U.S. at 382. That is precisely the situation here: LUPE Organizational Plaintiffs have standing




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  In addition to highlighting examples of the evidence adduced at trial that supports LUPE
Organizational Plaintiffs’ organizational standing, attached as Appendix A is a chart that sets forth
a more comprehensive list of citations to their proposed Findings of Fact that support LUPE
Organizational Plaintiffs’ standing for each of their claims.
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because S.B. 1 forbids them from engaging in activities that they previously conducted and would

conduct absent S.B. 1.

       For example, S.B. 1 has “perceptibly impaired” LUPE’s “ability to provide [get-out-the-

vote and voter assistance] services” to its members and constituencies. Alliance for Hippocratic

Medicine, 602 U.S. at 395 (quoting Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)).

LUPE’s mission includes voter outreach, civic engagement, and advocacy for nonpartisan ballot

measures that benefit the communities it serves. See, e.g., ECF No. 855 ¶ 57. LUPE historically

carried out that mission by conducting voter assistance, voter registration and get-out-the-vote

efforts. ECF No. 855 ¶¶ 58–65. S.B. 1 directly interferes with those efforts by preventing LUPE

from engaging in core activity that it otherwise would engage in.

       Before S.B. 1’s passage, LUPE staff regularly helped its members with their mail ballots

when they came to the LUPE offices requesting assistance, but LUPE now turns members away

because Section 6.06 of S.B. 1 exposes LUPE staff to criminal penalties if they provide one-on-

one assistance with mail ballots. ECF No. 855 ¶¶ 14–15, 73–74. Because of S.B. 1, LUPE now

provides more limited voter assistance—group presentations about mail ballots without any

individualized assistance—that is less effective than LUPE’s prior activities, which it would

resume absent the threat of violating S.B. 1. ECF No. 855 ¶¶ 14–15. Moreover, many LUPE

members need one-one-one assistance with their mail ballots because they are visually impaired

or low-literate, but S.B. 1 prevents LUPE from providing one-on-one assistance to those members.

ECF No. 855 ¶ 73. S.B. 1 thus directly regulates LUPE in ways that undermine the organization’s

ability to carry out core business activities that it performed before Texas enacted S.B. 1.




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       In addition, because LUPE does not know if its members will have mail ballots with them

during LUPE’s in-person advocacy, S.B. 1 has chilled LUPE from engaging in advocacy efforts

that it performed before S.B. 1. ECF No. 855 ¶ 118-119. “A plaintiff suffers an Article III injury

if the credible threat of a law’s enforcement chills his speech or causes self-censorship.” Texas

State LULAC v. Elfant, 52 F.4th 248, 256 (5th Cir. 2022). Jonathan White, who prosecuted election

code offenses for the Office of the Attorney General, testified that it would be possible for a

community organization, including a non-partisan organization like LUPE, to violate Section 7.04

by paying an organizer to persuade voters in person in the presence of a mail ballot to vote for a

ballot measure. ECF No. 854 ¶¶ 390–91. LUPE’s Executive Director, Ms. Tania Chavez Camacho,

testified that she is “most definitely worried” that LUPE could be investigated or prosecuted for

violating Section 7.04’s “vote harvesting” provisions based on the provision’s plain language and

the interactions LUPE had with voters before S.B. 1 was enacted. ECF No. 855 at p. 36 (citing Tr.

92:17–24 (Chavez); Tr. 83:9–12 (Chavez); Tr. 90:21–24 (Chavez)). As she explained, whenever

LUPE “cannot do advocacy in the presence of the ballot by mail, it will prohibit the ability to

freely do Get Out the Vote efforts,” and thus, the law has “inhibit[ed] our ability to be able to

advocate for a ballot measure in the presence of a ballot by mail.” ECF No. 855 ¶¶ 117–18.

       Friendship-West, Texas Impact, FIEL, MABA Texas, and Texas HOPE similarly testified

that S.B. 1 prevents their organizations from conducting their core activities of civic engagement

and voter assistance. See, e.g., ECF No. 854 ¶¶ 35, 67; ECF 855 ¶¶ 9, 17–18, 22–23, 32, 35–36,

37, 44–52, 53–55, 76–86, 89–91.

       Alliance for Hippocratic Medicine did not disturb the standing of an organization where it

and its members are regulated by the challenged government action. Rather, it dealt with a very

different set of facts. That case involved an organization of doctors who sought to challenge FDA’s



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“relaxed . . . regulatory requirements for mifepristone,” even though the FDA’s more relaxed

regulation of that drug did “not requir[e] them to do or refrain from doing anything.” All. for

Hippocratic Med., 602 U.S. at 373–74. The plaintiffs wanted “FDA to make mifepristone more

difficult for other doctors to prescribe and for pregnant women to obtain.” Id. at 374. The Supreme

Court held that the doctors and organization lacked standing, emphasizing that “a plaintiff’s desire

to make a drug less available for others does not establish standing to sue.” Id.

       Furthermore, the resource expenditures made by LUPE Organizational Plaintiffs to try to

remedy their direct injuries also support their standing. For example, LUPE’s efforts to comply

with S.B. 1’s regulation of its activities have imposed additional costs on the organization. Unlike

the plaintiffs in Alliance for Hippocratic Medicine, LUPE is thus not attempting to “spend its way

into standing simply by expending money to gather information and advocate against the

defendant’s action.” 602 U.S. at 394. Rather, S.B. 1 has “interfered with [LUPE’s] core business

activities” by making it more expensive and time-consuming for the organization to carry out the

same activities it carried out before the law was passed. Id. at 395. Ms. Chavez testified that S.B.

1 forced LUPE to spend two to three times as much as it used to spend on get-out-the-vote efforts.

ECF No. 855 ¶¶ 96–97. LUPE spent additional resources to train canvassers, staff, and others on

the limitations the law imposes on their work, precisely because S.B. 1 regulates that work. ECF

No. 855 ¶ 97. Moreover, for the November 2023 General Election, S.B. 1 caused LUPE to begin

its canvassing efforts much later than it ordinarily would, because the organization was forced to

conduct additional staff training to ensure that they would not violate S.B. 1. ECF No. 855 ¶ 87.

Canvassing is important to LUPE’s mission because it ensures its members receive information

about what is on the ballot, and voter turnout declines when LUPE is able to contact fewer voters.

ECF No. 855 ¶ 88.



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       As Ms. Chavez testified, because of S.B. 1, LUPE “will be able to reach fewer voters in

the state of Texas for voter advocacy” and will have “less contacts or touch points which will

prevent us in being able to inform as many voters as we would like about policies and candidates.”

Tr. 3598:18–3599:6 (Chavez). Thus, the harm from S.B. 1 is not merely that LUPE has “divert[ed]

its resources in response to a defendant’s actions.” All. for Hippocratic Med., 602 U.S. at 395. To

the contrary, S.B. 1 regulates LUPE’s conduct, “directly affect[ing] and interfer[ing] with”

[LUPE’s] core business activities,” including voter education. Id.

       Similarly, FIEL’s mission includes voter outreach, voter education, and civil engagement,

and it promotes its mission by holding community forums and facilitating voter assistance. ECF

No. 855 ¶¶ 49–51, 76–77. S.B. 1 has significantly impeded FIEL’s ability to carry out its mission.

Despite extensive conversations and training, FIEL staff and members are still uncertain about

how to comply with S.B. 1, particularly the provisions requiring assisters to take an oath. ECF No.

855 ¶ 79. FIEL staff have spent double or even triple the amount of time in conversations with

voters, including at community forums where FIEL staff have sought to address requirements

regarding voter assistance and the oath of assistance. ECF No. 855 ¶¶ 78–79.

       In Alliance for Hippocratic Medicine, the Supreme Court also emphasized that, even when

an organization is not directly regulated, the organization still has standing when third party

behavior causes it injury. Id. at 383. That is the case here, where LUPE Organizational Plaintiffs

also demonstrated that their volunteers and members have “react[ed] in predictable ways” to S.B.

1’s regulations “that in turn [has] injure[d] the plaintiffs.” Id. For example, in response to S.B. 1’s

regulation of their activities, some LUPE members have stopped volunteering as assisters at the

polls, or limit their assistance, and this loss of labor injures LUPE in conducting its core activities

of voter assistance and mobilization. ECF No. 855 ¶¶ 10-13. FIEL was forced to discontinue its



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usual in-person voter assistance efforts and caravans to the polls because volunteer numbers

plummeted due to concerns and confusion about complying with S.B. 1. ECF No. 855 ¶¶ 82–84.

As a result, FIEL has been unable to reach as many people through its voter outreach and education

efforts as it did before S.B. 1. ECF No. 855 ¶¶ 81, 85. FIEL has similarly experienced a decrease

in the number of its members willing to be recruited and trained to serve as poll workers, which

impairs FIEL’s work to promote and increase civic participation. ECF No. 855 ¶ 86.

       Similarly, after S.B. 1, MABA Texas’s volunteer member participation in voter education

activities decreased. MABA Texas has difficulty recruiting volunteers to participate in these

activities because of members’ concerns about violating S.B. 1, effectively diminishing the

organization’s voter outreach and injuring MABA Texas’s ability to engage in its core activities

of outreach to Latino voters on issues that are important to the Latino community and get-out-the-

vote efforts. ECF No. 855 ¶ ¶23, 32.

       S.B. 1 similarly limits the core activities of Friendship West, Texas Impact, and Texas

HOPE. See Appendix A.

       Therefore, LUPE Organizational Plaintiffs continue to have organizational standing

following the Supreme Court’s decision in Alliance for Hippocratic Medicine, and they do not

intend to waive their organizational standing arguments.

       B.      Alliance for Hippocratic Medicine did not affect the LUPE Plaintiffs’
               associational and individual standing.

       In addition to establishing organizational standing, the LUPE Plaintiffs also demonstrated

at trial that they have associational and individual standing to bring their claims. The Supreme

Court’s decision in Alliance for Hippocratic Medicine did not change the standards for assessing

the existence of associational or individual standing.




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       First, LUPE Organizational Plaintiffs have associational standing. At trial, LUPE

Organizational Plaintiffs described the many ways in which their members have been harmed and

will continue to be harmed by S.B. 1. See, e.g., ECF No. 854 ¶¶ 37–42, 75–81; ECF No. 855 ¶¶ 3–

20, 26–28, 32, 35–37. For example, before S.B. 1, FIEL members often assisted other FIEL

members with voting. ECF No. 855 ¶ 17. But many FIEL members no longer have access to the

assistance they received before S.B. 1 because the FIEL members who previously provided that

assistance are now afraid to volunteer at the polls. ECF No. 855 ¶¶ 17–18. Similarly, because

LUPE staff and volunteers are either prohibited, deterred, or impeded from providing voter

assistance to LUPE members by the challenged provisions of S.B. 1, LUPE member voters have

been forced to vote without assistance. ECF No. 855 ¶¶ 10–16; see also id. ¶ 8 (MABA Texas

members include voters who require assistance to vote and have relied on paid assistors for such

assistance). Because their members “have standing to sue in their own right” and the interests at

stake “are germane to the organization[s’] purpose[s],” LUPE Organizational Plaintiffs have

standing to sue on behalf of their members. See Funeral Consumers All., Inc. v. Serv. Corp. Int’l,

695 F.3d 330, 344 (5th Cir. 2012) (quoting Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S.

333, 343 (1977)). That was not true in Alliance for Hippocratic Medicine, where the groups’

members (doctors) themselves lacked standing.

       Second, Plaintiff James Lewin has individual standing to challenge Sections 4.09 and 8.01

of S.B. 1 and described the ways in which those provisions directly regulate his work as an election

judge, make his work more burdensome and stressful, create confusion about what he can and

cannot do, and interfere with his ability to perform his duties at the polls. ECF No. 854 ¶¶ 85–99.

Mr. Lewin fears that he could be criminally prosecuted for violating Section 4.09 because he does

not know how to adjust his behavior to adhere to the law or how to adjust the instructions he gives



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to his team of poll workers each election. ECF No. 854 ¶ 97. Indeed, Mr. Lewin faces a real threat

that he will have to respond to unruly poll watchers and be prosecuted for his response. During the

2020 General Election in Travis County—the same county where Mr. Lewin works as an election

judge—a poll watcher became so disruptive, “screaming and yelling, and pounding her hands on

the glass windows, that her fellow poll watchers turned her in to the police.” ECF No. 854 ¶¶ 197–

203; see also ECF No. 854 ¶¶ 196–208. This was just one example of poll watchers’ disorderly

conduct at the polls in recent elections. See ECF No. 854 ¶¶ 156–64. In light of these types of

incidents, Mr. Lewin has a credible fear that he will have to deal with similarly disruptive poll

watchers in Travis County and will violate Section 4.09 while doing so. ECF No. 854 ¶¶ 95–99.

As a result, Mr. Lewin faces “a sufficient likelihood of future injury” and has standing to pursue

his claims in this case. All. for Hippocratic Med., 602 U.S. at 381.

                                         CONCLUSION

       For these reasons and those stated in previous submissions, the LUPE Plaintiffs have

organizational, associational, and individual standing to bring this action. The Court should

adjudicate all of the LUPE Plaintiffs’ claims.




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Dated: July 11, 2024                         Respectfully submitted,

 /s/ Sean Morales-Doyle                       /s/ Nina Perales
 Sean Morales-Doyle                           Nina Perales (TX Bar No. 24005046)
 Jasleen K. Singh*                            Julia R. Longoria (TX Bar No. 24070166)
 Patrick A. Berry*                            Fátima L. Menéndez (TX Bar No. 24090260)
 BRENNAN CENTER FOR JUSTICE AT                MEXICAN AMERICAN LEGAL DEFENSE
 NYU SCHOOL OF LAW                            AND EDUCATIONAL FUND
 120 Broadway, Suite 1750                     110 Broadway, Suite 300
 New York, NY 10271                           San Antonio, TX 78205
 Telephone: (646) 292-8310                    Telephone: (210) 224-5476
 Facsimile: (212) 463-7308                    Facsimile: (210) 224-5382
 sean.morales-doyle@nyu.edu                   nperales@maldef.org
 singhj@brennan.law.nyu.edu                   jlongoria@maldef.org
 patrick.berry@nyu.edu                        fmenendez@maldef.org

 Leah J. Tulin*                               Michael C. Keats*
 BRENNAN CENTER FOR JUSTICE AT                Rebecca L. Martin*
 NYU SCHOOL OF LAW                            Jason S. Kanterman*
 1140 Connecticut Avenue NW, Suite 1150       FRIED, FRANK, HARRIS, SHRIVER &
 Washington, DC 20036                         JACOBSON LLP
 (202) 650-6397                               One New York Plaza
 tulinl@brennan.law.nyu.edu                   New York, New York 10004
                                              Telephone: (212) 859-8000
 Elizabeth Y. Ryan                            Facsimile: (212) 859-4000
 (TX Bar No. 24067758)                        michael.keats@friedfrank.com
 WEIL, GOTSHAL & MANGES LLP                   rebecca.martin@friedfrank.com
 200 Crescent Court, Suite 300                jason.kanterman@friedfrank.com
 Dallas, Texas 75201
 (214) 746-7700                               Attorneys for Plaintiffs La Unión del Pueblo
 liz.ryan@weil.com                            Entero, Southwest Voter Registration
                                              Education Project, Mexican American Bar
 Aaron J. Curtis*                             Association of Texas, Texas Hispanics
 WEIL, GOTSHAL & MANGES LLP                   Organized for Political Education, Jolt
 767 Fifth Avenue                             Action, William C. Velasquez Institute, and
 New York, NY 10153                           FIEL Houston Inc.
 aaron.curtis@weil.com

 Attorneys for Plaintiffs Friendship-West
 Baptist Church, Texas Impact, and
 James Lewin



 * Admitted pro hac vice



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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically submitted a true and correct copy of the foregoing via

the Court’s electronic filing system on the 11th day of July 2024.



                                                 /s /Nina Perales
                                                     Nina Perales




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